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DIS DEREK SMITH

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Sexual Harassment and Discrimination Lawyers

New York | New Jersey | Philadelphia | Miami | Los Angeles | San Francisco | San Diego

January 31, 2024

PERSONAL AND CONFIDENTIAL

VIA EMAIL (oneil@enthusiasthotels.com)
Attn: Mr. Oneil Khosa

THE ENTHUSIAST LLC

3930 Coral Ridge Dr.

Coral Spring, FL 33065

Re: Our Clients — A7 KARI JOHNSON and HAZEL THOMPSON
Dear Mr. Khosa:

Please be advised that this law firm represents Mr. A’kari Johnson and Ms. Hazel
Thompson (hereinafter referred to as “Claimants”) pertaining to the to the serious race/color
discrimination, hostile work environment, overtime pay violations, and retaliation claims arising
from Claimant’s employment with THE ENTHUSIAST LLC (hereinafter referred to as
“ENTHUSIAST” or the “Company”). Specifically, Claimants allege that ENTHUSIAST has
engaged in conduct that is prohibited to employers under several federal and state laws, including
but not limited to the Fair Labor Standards Act, 29 U.S.C. § 201 et seg. (“FLSA”); 42 U.S.C. §
1981 et seg. (“1981”); and the Florida Civil Rights Act, Fla. Stat. § 760.01 et seg. ““FCRA”).

We write to you in a good faith attempt to resolve this matter. At this time, a Complaint
has been prepared to be filed with United States District Court, Southern District of Florida. Please
contact our firm to discuss this matter by Monday, February 12, 2024. Conversely, if we do not
hear from you, we will assume that ENTHUSIAST is not interested in an amicable resolution, and
we will proceed accordingly.

Regardless of whether you choose to resolve this matter at this stage, it is your company’s
legal duty to provide certain insurance information to me and to preserve company records. I have
attached a brief statement of your obligations in this regard.

We hereby demand that ENTHUSIAST preserve the following electronically stored
information (ESI) relating to Claimants in its original state, and that all backup of this data,
regardless of its storage, shall not be erased or deleted:

EXHIBIT
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1. The entire contents of Claimants’ personnel files;

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2. All photos and video recordings of Claimants and all or any of those individuals with whom
they worked since the start of their respective employment;

3. All communications sent by or received by Claimants and any of those individuals with
whom they have worked with since the start of their respective employment;

4. All communications and documents pertaining to Claimants’ complaints of wages, unfair
treatment, harassment, and/or discrimination.

I look forward to hearing from you or your representative and working with you to resolve

this matter.

Dated: Miami, Florida DEREK SMITH LAW GROUP, PLLC
January 31, 2024 Counsel for Claimants

s/ Daniel J. Barroukh

Daniel J. Barroukh, Esq.

Derek Smith Law Group, PLLC

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Miami, FL 33131

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Danielb@dereksmithlaw.com

(ce: oneilrk@gmail.com)
Enc.:
Notice of Obligation to Provide Insurance Information

Notice of Obligation to Preserve All Records
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OBLIGATION TO PROVIDE INSURANCE INFORMATION

In accordance with Florida Statute §627.4137(1), please furnish us with a statement setting
forth the following information regarding Claimants’ claims, including:

1. The name of each known insurer; and
2. The coverage information for each known insurer

Additionally, in accordance with Florida Statute §627.4137(1), please forward this request
to each affected insurer, and have each insurer supply to our office a statement under oath with the
following information within thirty (30) days of such insurer’s receipt of this request:

The name of the insurer;

The name of each insured;

The limits of the liability coverage- including excess or umbrella insurance;

A statement of any policy or coverage defense which such insurer reasonably believes is
available to such insurer at the time of filing such statement; and

A copy of each policy.

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Further, in accordance with Florida Statute §627.4137(2), please ensure that the statement
required above is amended immediately upon delivery of facts calling for an amendment to such
statement.

OBLIGATION TO PRESERVE ALL RECORDS

This shall also serve as formal notice to THE ENTHUSIAST LLC (hereinafter referred to
as “ENTHUSIAST” or the “Company”) to preserve all evidence and information that may be
relevant to the pending legal claim and lawsuit. Specifically, the Company must make an
affirmative effort to preserve all documents and electronically stored information (“ESI”) on all
devices in your possession or control, regardless of the source of the documents or ESI.
“Preserving” the documents and ESI means that they must not be destroyed, deleted, or modified.
Your Company’s failure to comply can result in sanctions being imposed by the Court for
spoliation of evidence or potential evidence.

For these purposes, the terms “Documents” and “ESI” have a very broad meaning and
include not only hard copy documents (both drafts and final copies) but also provide a wide range
of electronic data. ESI can include, but is not limited to, all digital or analog electronic files,
including “deleted” files and file fragments, stored in machine-readable format on magnetic,
optical, or other storage media, including but not limited to flash drives or other portable devices
your Company computers, and any backup media (e.g., other hard drives, backup drives, flash
drives, CDs) or otherwise, regardless of whether such files have been reduced to paper printouts.
The same is time for all cell phones in your Company’s possession and control, including any
personal smart/cell phone your Company has used within the past year. As a non- exhaustive list,
your Company is to preserve all e-mails and tech messages, both sent and received, whether
internally or externally; all work-processed files, including drafts and revisions; all spreadsheets,
including drafts and revisions; all databases; all data generated by e-mailing, calendaring, task
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management, and personal information management (PIM) software (such as Microsoft Outlook),
whether personal or provided your Company; all data created with the use pf personal data
assistants (PDAs), including but not limited to iPhone, Blackberry, Pocket PC, or Windows Mobile
devices; all data created with the use of mobile phones, whether personal or provided by your
Company, including but not limited to text messages and instant messages; all data created with
the use of paper and electronic mail logging and routing software all internet and Web-browser
generated history files, caches, and “cookies” files generated; all information pertaining to social
networking accounts, including but not limited to Facebook, Twitter, Linkedin, Instagram,
Snapchat, Pinterest, and all other forms of social networking accounts; and any and all other files
generated by users through the use of computers and/or telecommunications, including but not
limited to voice mail.

Further, your Company is to preserve any log or logs of network use, whether kept in paper
or electronic form, and to preserve all copies of your backup drives and the software necessary to
reconstruct the data on those drives, so there can be made a complete, bit-by-bit “mirror”
evidentiary image copy of the storage media of each and every personal computer and network
server in your Company’s control and custody, as well as image copies of all hard drives retained
by your Company’s control and custody, as well as image copies of all hard drives retained by
your Company and no longer in service, but in use at any time from the beginning of our client
employment with your Company to the present. The sources for these Documents and ESI could
include, but are not limited to, all hard copy files and computer hard drives personal and work),
removable media (such as CDs, DVDs, and thumb drives), computer servers, laptop computers,
PDAs, Blackberry Devices, and other mobile phones. Ms. Garcia requests that your Company
make efforts to preserve the information regardless of the source or location of the information.

In an abundance of caution, your Company is to undertake these preservation obligations
as to all of the above information, sources, and devices regardless of whether the Company thinks
the information, source or device is relevant- e.g., preserve all text messages on any cell phone or
PDA has used within the past year regardless of the sender or recipient and regardless of their
content.

In order to preserve all existing documents and ESI, please have the Company stop any
deletion, overwriting, or other possible destruction of the documents and ESI. Your Company’s
preservation of evidence obligations also requires you to suspend all processes and routines in
place on all sources for filing, modifying, deleting, removing, altering, or recycling any
electronically stored information, data, and documents and to take all other steps necessary for the
preservation of such evidence.

We request that your Company capture and print all such text messages now to avoid any
inadvertent deletion of the same. To the extent that text messages are or have been deleted, we
request that your Company preserve all evidence and records that show how and when such text
messages were deleted and who was responsible for the deletion.

With regard to electronic data created after the date of delivery of this letter, relevant
evidence is not to be destroyed and your Company is to take whatever steps are appropriate to
avoid destruction of evidence. To assure that your Company’s obligation to preserve documents
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and things will be met, please forward a copy of this letter to any other persons or entities with
custodial responsibility for the items referred to in this letter.

It is also your obligation to preserve all pay records as well as any other records relating to
our client.
